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                               United States District Court
                               Northern District of Texas


                 Supplemental Civil Cover Sheet For Cases Removed
                                 From State Court



 This form must be attached to the Civil Cover Sheet at the time the case is filed in the U.S.
           District Clerk=s Office. Additional sheets may be used as necessary.


1.     State Court Information:

       Please identify the court from which the case is being removed and specify the number
       assigned to the case in that court.

               Court                                         Case Number
       271 st District Court Wise County                     CV-14-10-735


2.     Style of the Case:

       Please include all Plaintiff(s), Defendant(s), Intervenor(s), Counterclaimant(s),
       Crossclaimant(s) and Third Party Claimant(s) still remaining in the case and indicate their
       party type. Also, please list the attomey(s) of record for each party named and include their
       bar number, firm name, correct mailing address, and phone number (including area code.)

                Party and Party Type                                         Attorney(s)
       Plaintiffs -    Dawn Caddell                                         Wendy Barker
                       Louis Delarosa

       Defendants - Oakley Trucking, Inc.,                              Mark J. Dyer
                    Jilleta Baxter, as an Heir to the Estate of         Benjamin D. Britt
                    John Patrick Baxter, Deceased, or as an
                    Executrix, Administrator, or Personal
                    Representative of the Estate of John Patrick Baxter



3.     Jury Demand:

       Was a Jury Demand made in State Court?                9 Yes 9 No
               If"Yes," by which party and on what date?

               PLAINTIFFS                                                   10/3/2014
               Party                                                        Date
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4.    Answer:

      Was an Answer made in State Court?                   9   Yes   9   No

             If"Yes," by which party and on what date?


                DEFENDANTS                                               11/5/2014
             Party                                                            Date




5.    Unserved Parties:

      The following parties have not been served at the time this case was removed:

                                                            Reason(s) for No Service


             None




6.    Nonsuited, Dismissed or Terminated Parties:

      Please indicate any changes from the style on the State Court papers and the reason for that
      change:

                                                            Reason

             None
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7.    Claims of the Parties:

      The filing party submits the following summary of the remaining claims of each party in this
      litigation:

              Party                                         Claim(s)
             Plaintiffs                                    Negligence
                                                           Respondent Superior
